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 1
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 5

 6   ATTORNEY FOR Defendant,
     MARK BAGDASARIAN
 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10
                                                 ******
11   UNITED STATES OF AMERICA,                          Case No.: 1:11-CR-00352-LJO-SKO
12
                    Plaintiff,                          STIPULATION TO CONTINUE TRIAL
13                                                      CONFIRMATION AND JURY TRIAL
            v.                                          AND ORDER
14
     MARK BAGDASARIAN AND RYAN
                                                        Date: August 11, 2014
15   BAGDASARIAN,                                       Time: 8:30 a.m.
                                                        Courtroom: 4
16                  Defendant.                          Hon. Lawrence J. O’Neill
17

18          IT IS HEREBY STIPULATED by the parties hereto, through their respective

19   attorneys of record, that the Trial Confirmation, presently set for August 11, 2014, at 8:30

20   a.m., and the Jury Trial, presently set for August 26, 2014, be vacated. The parties further

21   stipulate that a Status Conference be set for November 3, 2014, at 8:30 a.m.

22          Good cause exists for this request as this matter has been delayed because of the

23   Department of Justice’s change in policy regarding the prosecution of marijuana dispensary

24   cases. Counsel for Mark Bagdasarian and Ryan Bagdasarian and Assistant United States

25   Attorney Kevin Rooney are working on a resolution of this case, but need additional time, until

26   at least November 3, 2014, to resolve the issues in this case.

27          Based on the above-stated findings, the ends of justice served by vacating the trial date

28   and continuing this matter for status conference as requested outweigh the interest of the public
                                                      1
                         STIPULATION TO CONTINUE TRIAL CONFIRMATION AND JURY TRIAL
                                      CASE NO.: 1:11-CR-00352-LJO-SKO
     Case 1:11-cr-00352-LJO-SKO Document 70 Filed 07/28/14 Page 2 of 3
 1   and the defendant in a trial within the original date prescribed by the Speedy Trial Act.

 2            For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

 3   seq., within which trial must commence, the time period of August 11, 2014 through

 4   November 3, 2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),

 5   B(iv) because it results from a continuance granted by the Court at defendant’s request on the

 6   basis of the Court's finding that the ends of justice served by taking such action outweigh the

 7   best interest of the public and the defendant in a speedy trial.

 8            So Stipulated:

 9                                              Respectfully submitted,

10   Dated:       July 25, 2014           By: /s/Kevin P. Rooney
                                              KEVIN P. ROONEY
11                                            Assistant United States Attorney
12

13

14   Dated:       July 25, 2014           By: /s/Anthony P. Capozzi
                                              ANTHONY P. CAPOZZI
15                                            Attorney for MARK BAGDASARIAN

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18   Dated:       July 25, 2014           By: /s/Charles Lee
                                              CHARLES LEE
19                                            Attorney for RYAN BAGDASARIAN
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                         STIPULATION TO CONTINUE TRIAL CONFIRMATION AND JURY TRIAL
                                      CASE NO.: 1:11-CR-00352-LJO-SKO
     Case 1:11-cr-00352-LJO-SKO Document 70 Filed 07/28/14 Page 3 of 3
 1                                   ORDER

 2

 3          IT IS SO ORDERED. Good cause having been shown, the Trial Confirmation set for

 4   August 11, 2014, and the Jury Trial set for August 26, 2014, are hereby vacated. A Status

 5   Conference is set for November 3, 2014, at 8:30 a.m. Additionally, time shall be excluded by

 6   stipulation from the parties and pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv).

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 8   IT IS SO ORDERED.

 9      Dated:     July 28, 2014                           /s/ Lawrence J. O’Neill
                                                      UNITED STATES DISTRICT JUDGE
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                        STIPULATION TO CONTINUE TRIAL CONFIRMATION AND JURY TRIAL
                                     CASE NO.: 1:11-CR-00352-LJO-SKO
